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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            : CASE NO. 1:06CR565
                                                     :
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 RAMAL HAMMOND                                       : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
 ------------------------------------------------    :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Ramal Hammond which was referred to the Magistrate Judge with

the consent of the parties.

       On 6 December 2006, the government filed a three-count indictment against

Ramal Hammond for conspiracy to distribute cocaine base and cocaine in violation of 21

U.S.C. § 846; use of a communications facility in violation of 21 U.S.C. § 843(b); and

distribution of cocaine base in violation of 21 U.S.C. § 841(a)(1) and § 841(b)(1)(C).

On 26 December 2006, a hearing was held in which Ramal Hammond entered a plea of

not guilty before Magistrate Judge David S. Perelman, waived the reading of the

indictment and waived his right to a detention hearing and executed a waiver. On
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9 March 2007, Magistrate Judge Vecchiarelli received Ramal Hammond’s plea of guilty

and issued a Report and Recommendation (“R&R”) concerning whether the plea should

be accepted and a finding of guilty entered.

         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted.

Ramal Hammond is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, Ramal Hammond is adjudged guilty of the lesser offense set forth in

Count One of conspiracy to distribute cocaine base (crack) in violation of 21 U.S.C.

§ 846 and § 841(b)(1)(C).

         Sentencing will be:

                       4 June 2007 at 11:30 a.m.

                       Courtroom 19-A
                       19th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


         IT IS SO ORDERED.



Dated:         5 April 2007               /s/Lesley Wells
                                          UNITED STATES DISTRICT JUDGE


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